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                         IN THE UNITED STATES DISTRICT COURT FOR THE
8
                                  EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA, )              Case No. 1:07-CR-0074 LJO
                                   )
12                     Plaintiff,  )          ORDER TO CONTINUE DATE
           v.                      )          FOR SENTENCING HEARING
13                                 )
                                   )
14                                 )
                                   )          DATE: APRIL 4, 2008
15   JUANA ANTUNEZ,                )          TIME: 9:00 a.m.
                                   )          PLACE: Courtroom 4
16                     Defendant.  )          Honorable Lawrence J. O’Neill
     ______________________________)
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18            Upon the stipulation of the parties and good cause appearing therefore,
19            IT IS HEREBY ORDERED that the sentencing hearing presently set for April 4, 2008 at
20   9:00 a.m. is continued until April 11, 2008 at 9:00 a.m. to be heard before the Honorable
21   Lawrence J. O’Neill, Courtroom 4.
22
23   IT IS SO ORDERED.
24   Dated:      March 31, 2008                       /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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